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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JULIA ROSSI, individually, and on behalf of       )
all others similarly situated,                    )
                                                  )
               Plaintiff,                         )
                                                  )
                                                            Case No. 1:20-cv-05090
v.                                                )
                                                  )
                                                            Honorable Andrea R. Wood
CLAIRE’S STORES, INC., CBI                        )
DISTRIBUTING CORP.,                               )
                                                  )
               Defendants.                        )

               UNOPPOSED MOTION TO EXTEND TIME TO ANSWER
              OR OTHERWISE RESPOND TO PLAINTIFF’S COMPLAINT

       Defendants Claire’s Stores, Inc. and CBI Distributing Corp. (collectively, “Claire’s”),

respectfully move this Court to extend the deadline for Claire’s to answer or otherwise respond to

Plaintiff’s Class Action Complaint (Doc. 4-1) (“Complaint”) by 28 days, up to and including

October 2, 2020. In support of its unopposed motion, Claire’s states:

       1.      Plaintiff Julia Rossi (“Plaintiff”) filed her Complaint on July 31, 2020, in the Circuit

Court of Cook County, Illinois. Claire’s was served with the summons and Complaint on August

4, 2020.

       2.      On August 28, 2020, Claire’s removed this matter to the United States District

Court for the Northern District of Illinois under the Class Action Fairness Act.

       3.      Per Federal Rule of Civil Procedure 81(c)(2), “A defendant who did not answer

before removal must answer or present other defenses or objections under these rules within . . . 7

days after the notice of removal is filed.” Fed. R. Civ. P. 81(c)(2).
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       4.      Claire’s did not answer or otherwise plead before this matter was removed to

federal court, and therefore, the deadline for Claire’s to answer or otherwise respond to the

Complaint currently is September 4, 2020.

       5.      In the Complaint, Plaintiff alleges that the personal information of “many thousands

of individuals throughout the United States” was compromised during a cyberattack on Claire’s e-

commerce platform earlier this year. (Compl., ¶¶ 17, 72-73.) Plaintiff asserts various common law

and statutory claims under both Illinois and Pennsylvania laws and seeks certification of a

nationwide class and a Pennsylvania sub-class. (Id., ¶¶ 72, 79-163.)

       6.      Given the complexity and nature of Plaintiff’s claims, Claire’s respectfully requests

an additional twenty-eight days, up to and including October 2, 2020, to file its responsive

pleading.

       7.      Claire’s conferred with Plaintiff’s counsel in good faith prior to filing this motion,

and Plaintiff consents to Claire’s requested extension.

       8.      This is Claire’s first request for an extension of time.

       9.      Claire’s expressly reserves the right to raise all defenses it has to the Complaint.

       WHEREFORE, Defendants Claire’s Stores, Inc. and CBI Distributing Corp. respectfully

request that this Court extend the deadline to answer or otherwise respond to Plaintiff’s Complaint

by 28 days, up to and including October 2, 2020.




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Dated: September 1, 2020                         Respectfully submitted,

                                                 /s/ Maria A. Boelen
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                                                 Attorneys for Defendants




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                                CERTIFICATE OF SERVICE

       I, John Letchinger, certify that on the 1st day of September 2020, the foregoing Unopposed

Motion to Extend Time to Answer or Otherwise Respond to Plaintiff’s Complaint, was served via

email on the following:

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                                                /s/ Maria A. Boelen
                                                Maria A. Boelen
